
BOWEN, Judge.
Ronald Harper pleaded guilty and was convicted of robbery in the first degree and was sentenced to 15 years’ imprisonment. His appointed counsel has not filed a brief *55on appeal. It appears from the record that the appellant is indigent.
This Court has no choice but to grant the motion of the Attorney General. This cause is remanded to the circuit court with directions that that court appoint counsel to represent the appellant unless the appellant makes an on-the-record voluntary, knowing, and intelligent waiver of counsel or waives his right to appeal. The circuit court shall make written findings and forward the same to this Court within 30 days from the date of this order. If the circuit court appoints counsel to represent the appellant, the time for the filing of briefs shall begin to run from the date of that appointment.
REMANDED WITH DIRECTIONS.
All Judges concur.
ON RETURN TO REMAND
BOWEN, Judge.
This cause was remanded with directions that the circuit court appoint appellate counsel for Harper unless it determined that Harper was waiving his appeal. On remand, the circuit court appointed counsel to advise the appellant concerning his rights to appeal. The trial court also conducted a hearing at which the appellant and his appointed counsel were present.
On February 14, 1991, the circuit court entered a written order in response to the order of remand of this court. A portion of that order reads as follows:
“The undersigned Judge having explained to the Defendant Harper his right(s) to proceed with his appeal which seeks to challenge the legal sufficiency of his plea of guilty in the above styled-matter [Jefferson County Case, CC 90-2181] and having questioned Harper and his advisory counsel, the Court makes the following findings on remandment:
“A. That the Defendant Harper was and is presently satisfied with the plea bargain agreement entered into by Harper on the advice of his trial counsel, who was not [his advisory counsel].
“B. That the Defendant Harper does not desire to proceed with his appeal or have counsel appointed to represent him on appeal.
“C. That the Court finds that the Defendant Harper has elected not to proceed on appeal and that said decision was done knowingly, intelligently and voluntarily after seeking advice of counsel and based on his response to the Court during the hearing ordered on remandment.”
Based on the order of the circuit court, this appeal is dismissed pursuant to Rules 2(a)(2)(A) and 2(a)(2)(C), A.R.App.P.
OPINION EXTENDED; APPEAL DISMISSED.
All Judges concur.
